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KIRBY AISNER & CURLEY LLP                                             Hearing Date: June 15, 2020
Attorneys for the Debtor                                              Hearing Time: 10:00 AM
700 Post Road, Suite 237
White Plains, New York 10709
(914) 401-9500
Erica R. Aisner, Esq

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------X
In re:
                                                                      Chapter 11
TRIAX CAPITAL ADVISORS, LLC,                                          Case No. 19-24145(RDD)
                                                 Debtor.
-----------------------------------------------------------X

                          NOTICE OF ADJOURNMENT OF HEARINGS


        PLEASE TAKE NOTICE, that the hearing on the (1) Debtor’s Motion for an Order
Extending Exclusive Periods Pursuant to 11 U.S.C §1121(d)(1); and (2) Motion for Objection to
Claim Numbers 5 and 6 filed by David Weinbach and Principal Land currently scheduled to be
heard on June 12, 2020 at 10:00 a.m. before the Honorable Robert D. Drain, United States
Bankruptcy Judge, at the Office of the United States Bankruptcy Court, 300 Quarropas Street
(Room TBD), White Plains, New York 10601 have been adjourned until June 15, 2020 at 10:00
a.m. at the same location.

        PLEASE TAKE FURTHER NOTICE, that in light of the COVD-19 pandemic, pursuant to
SDNY General Order M-543, all hearings will be conducted telephonically pending further order of
this Court. Parties that wish to appear at the hearing must register with CourtSolutions at
https://www/court-solutions.com. CourtSolutions telephonic appearance instructions can be found in
General Order M-543. Parties are advised to check the Court Calendar the day before for updated
call in times.

Dated: Scarsdale, New York                                     KIRBY AISNER & CURLEY LLP
       June 8, 2020                                            Attorneys for the Debtors
                                                               700 Post Road, Suite 237
                                                               Scarsdale, New York 10583
                                                               (914) 401-9500

                                                               By: /s/ Erica R. Aisner
                                                                       Erica R. Aisner
